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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE k

EAsTERN DrvlsroN ’(
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INSOUTH BANK, ) ";q>h' 5200
) ”“of §o;‘@% 5
P)aimiff, ) "’4;”§*¢£0;;,§/.*
) a
vs. ) NO. 1-03¢1290-T
)
JosEPH TELEsE, BRUCE oLerR and )
MADELINE oLsTER, )
)
Defendants. )

 

ORDER GRANTING CONSENT JUDGMENT AGAINST DEFENDANTS

 

On September l, 2004, Plaintiff lnSouth Banl< and Defendants Joseph Telese, Bruce
Olster, and Madeline Olster entered into a settlement agreement WherebyDefendants agreed,
in part, to pay InSouth Bank the sum of 3100,000.00 on or before December 31, 2004, or
they Were to secure such payments With a pledge of security in real estate held at an equity
of at least 5100,000.00. Defendants have failed to pay InSouth the full $lO0,000.00 sum
stated in the agreement, and they have also failed to provided the stated security. InSouth
files this motion to have judgment granted against Defendants pursuant to the remedies
provided for in the settlement agreement Defendants did not respond.

Paragraph five (5) of the settlement agreement states that any unpaid judgment
amount is to earn interest at the rate of 10% per day after December 31, 2004. Thus, the

amount due under the agreement for each of the Defendants is as follows:

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with Rule 58 and.'or_?g (a) FF\‘CP on l l l g l §§ \

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l. Defendants Bruce and Madeleine Olster

As ofDecember 31, 2004, the Olsters owed the entire $lO0,000.00 sum to Plaintiff,
with interest earning 10% per day, or $27.40. On March 9, 2005, the Olsters made a
payment of $25,000.00 on their obligation Thus, from December 31, 2004, until March 9,
2005, the Olsters accrued $1,863.20 in interest. As of March 9, 2005, the amount owed to
InSouth is $75,000.00 on the original obligation, at a rate of$21.04 per day in interest. The
Olsters have made no payments since March 9, 2005. One hundred and twenty-seven (127)
days have elapsed since March 9, 2005. Accordingly, pursuant to the terms stated in the
settlement agreement, InSouth is entitled to 375,000.00 on the original obligation, as well
as 31,863.20 in interest earned between December 3 l , 2004, and March 9, 2005, and
$2,789.40 in interest earned between March 9, 2005, and the date of this order. The total
amount owed by the Olsters is $79,536.55. In addition, the judgment Will continue to earn
interest at 10% per annum. Therefore, Judgement is ORDERED against Defendants Bruce
and Madeline Olster in the amount of $79,536.55, with interest of 10% per annum.

2. Defendant Joseph Telese

As of Deeember 31,2004,Te]ese owed the entire $100,()00.00 sum to Plaintiffs, with
interest ath%, or $27.40 per day. Telese has not made any payments; thus, the amount he
owes pursuant to the agreement continues to earn interest at $27.40 per day. At 195 days
of interest, the total interest owed is $5,343.00. When added to the original sum stated in

the agreement, Telese owes InSouth a total of $105,343.00 as of the date of this judgment,

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as well as 10% interest per annum. Consequently, Judgement is ORDERED against

Defendant Telese in the amount of $105,343.00, with interest of 10% per day.

Plaintiff`s motion for judgment against Defendants pursuant to the settlement
agreement is GRANTED. Defendants Bruce and Madeline Olster are ORDERED to pay
P]aintiff in the amount of $79,536.55, with interest of 10% per annum, and Defendant
Telese is ORDERED to pay Plaintiff in the amount of$ 105,343 .OO, With interest of IO% per
annum. The Clerk is ORDERED to prepare judgment accordingly

IT IS SO ORDERED.

On/WZ)M

réo[ES D. TODD

UNITED STATES DISTRICT JUDGE

/V%Mf

DATE

Notice

case 1:03-CV-01

 

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of Distribution

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Honorable J ames Todd
US DISTRICT COURT

